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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________________

CHARLES MALMBERG,

                                    Plaintiff,

                      v.                                                 5:06-CV-1042
                                                                          (FJS/TWD)
UNITED STATES OF AMERICA,

                              Defendant.
______________________________________________

APPEARANCES                                        OF COUNSEL

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SCULLIN, Senior Judge

                           MEMORANDUM-DECISION AND ORDER

                                       I. BACKGROUND

       Plaintiff commenced this action on September 15, 2006, seeking to recover damages for

injuries he sustained in November 2004 during the course of an anterior cervical disectomy and
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fusion procedure at the Syracuse VA Medical Center. After bench trials on liability and damages,

this Court concluded that the Government was liable for Plaintiff's injuries and awarded him

$4,468,859.91 in damages. See Dkt. No. 146 ("Malmberg I"). Both parties appealed various

aspects of this award.

       In Malmberg v. United States, 816 F.3d 185 (2d Cir. 2016) ("Malmberg II"), the Second

Circuit vacated the damages award and directed this Court to reconsider whether Plaintiff should be

permitted to amend the ad damnum clause in his complaint to increase the amount of damages

requested and to explain its rationale for awarding $2 million in damages for Plaintiff's past and

future pain and suffering.

       After remand, this Court denied Plaintiff's motion to increase the ad damnum clause and

concluded that, in light of its decision concerning the ad damnum clause,

               there [was] no reason for the Court to address how the $2.5 million
               award for past pain and suffering compares to awards in cases
               involving plaintiffs with comparable injuries because, even if the
               Court were to find that comparable cases warranted an increase, any
               such increase would be limited to a maximum of $511,320. . . .

See Dkt. No. 171, Memorandum Decision and Order dated April 13, 2018, at 19 n.3 ("Malmberg
III").

       Both parties appealed. On appeal, both parties contested whether this Court had clearly

erred in denying Plaintiff's request to increase the ad damnum from $6 million to $25 million. The

Second Circuit concluded that this Court had erred and, therefore, reversed that aspect of this

Court's judgment and remanded for this Court "to determine anew the damages owed to [Plaintiff],

taking into account an increased ad damnum of $25 million, which fixes the ceiling on the

maximum recoverable damages." See Dkt. No. 182, Mandate ("Malmberg IV"), at 6.



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       On appeal, Plaintiff also argued, and the Government agreed, that this Court had failed to

explain sufficiently its award for past and future pain and suffering. See id. Therefore, the Second

Circuit "vacate[d] this aspect of the damages award" and instructed this Court "to consider whether

its initial pain and suffering award complies with New York law and to explain the basis for its

decision." See id. at 7. The Second Circuit also instructed this Court to "take into account, among

other things, awards in comparable cases." See id.

       Finally, on appeal, the Government contended, and Plaintiff did not dispute, that this Court

"failed to correctly offset the damages award by the amount of disability payments [Plaintiff] has

received under 38 U.S.C. § 1151." See id. The Second Circuit agreed and, therefore, "vacate[d] this

aspect of the damages award and direct[ed] [this] Court to offset the final award by the amount of

§ 1151 benefits that [Plaintiff] receives through the date of any amended judgment entered on

remand." See id.

       Pending before the Court are the parties' submissions addressing the issues that the Court

must decide in light of the Second Circuit's August 15, 2019 Mandate, Malmberg IV, which

reversed in part, vacated in part, and remanded this matter for further proceedings consistent with

that Mandate.



                                         II. DISCUSSION

       "'Although there is no precise rule for determining damages for pain and suffering, a trier of

fact is bound by a standard of reasonableness.'" Davis v. Yisrael, No. 16 CV 1574 (LMS), 2019 WL

2098151, *2 (S.D.N.Y. May 14, 2019) (quoting Battista v. United States, 889 F. Supp. 716, 727

(S.D.N.Y. 1995) (citing Paley v. Brust, 21 A.D.2d 758 (1st Dep't 1964))). "'[A] review of jury


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awards and settlement amounts in recent New York cases involving comparable injuries suffered

under comparable circumstances, while not binding, provides helpful guidance to the court in

determining a reasonable range for the value of non-economic damages to be awarded in this case.'"

Id. (quoting Robinson v. United States, 330 F. Supp. 2d 261, 295-96 (W.D.N.Y. 2004)); (citing

Marcoux v. Farm Serv. & Supplies, Inc., 290 F. Supp. 2d 457 (E.D.N.Y. 2003) (explaining that

"[a]ssigning dollar amounts to pain and suffering is an inherently subjective determination")

(citations omitted); Berroyer v. United States, 990 F. Supp. 2d 283, 309 (E.D.N.Y. 2014) ("The

Court also recognizes that the facts of each case are different and there may be case-specific

variables that reasonably lead to a higher or lower amount in damages.")).

        In their papers, the parties referred to more than twenty cases. The Court has reviewed all of

those cases, as well as several others, to guide its decision regarding the amount of damages to

award Plaintiff. In addition, to take inflation into account, the Court has converted the awards in

those cases to 2019 Dollars using the US Inflation Calculator.1

        After reviewing the relevant cases, the Court has compiled a table of representative cases

that present a reasonable range of awards for non-economic damages in cases in which the injuries

that the plaintiffs suffered are similar to the injuries that Plaintiff suffered in this case. These cases

provide helpful guidance to the Court in determining the appropriate amount of damages for past

and future pain and suffering to award in this case.




        1
         According to this Calculator, through January 2020, the latest Consumer Price Index is
 256.974 and the Inflation Rate is 2.3%. See www.usinflationcalculator.com (last visited January
 28, 2020).

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 Case Name            Year of Award     Injuries             Award               2019 Dollars
                                                                                 (December
                                                                                 2019)
 Saladino v.          2011; upheld by   quadriplegic (37     $5 million (past    $5,682,807.34
 Stewart &            2d Cir. 2012      year old male at     pain and            (past)
 Stevenson Servs.,                      time of accident)    suffering); $10     $11,365,614.68
 Inc., No. 01-CV-                       (by time of          million (future     (future)
 7644 (SLT)                             verdict, injury 11   pain and
 (JMA), 2011 WL                         years ago and life   suffering)          Cumulative rate
 284476                                 expectancy of 24                         of Inflation:
 (E.D.N.Y. Jan.                         years)                                   13.7%
 26, 2011), aff'd
 sub nom                                                                         Total award:
 Saladino v. Am.                                                                 $17,048,422.02
 Airlines, Inc.,
 500 F. App'x 69
 (2d Cir. 2012)
 Barnhard v.          2011              quadriplegic         on appeal, reduce   $3,409,684.40
 Cybex Int'l, Inc.,                                          award to $3         (past)
 89 A.D.3d 1554                                              million (past
 (4th Dep't 2011)                                            pain and
                                                             suffering); $9      $10,229,053.21
                                                             million (future     (future)
                                                             pain and
                                                             suffering) -        Cumulative rate
                                                             remittitur          of Inflation:
                                                             (maximum            13.7%
                                                             amounts jury
                                                             could have          Total award:
                                                             awarded)            $13,638,737.61




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 Case Name          Year of Award   Injuries            Award                2019 Dollars
                                                                             (December
                                                                             2019)
 McMillan v. City   2008            quadriplegic        $4.5 million         $5,343,429.96
 of New York,                                           (past pain and       (past)
 Nos. 03-CV-                                            suffering (injured
 6049, 08-CV-                                           in 2003)); $7.5      $8,905,716.59
 2887, 2008 WL                                          million (future      (future)
 4287573                                                pain and
 (E.D.N.Y. Sept.                                        suffering (age 44    Cumulative rate
 17, 2008)                                              when judgment        of Inflation:
                                                        entered))            18.7%

                                                                             Total award:
                                                                             $14,249,146.55
 Coniker v. State   2002            quadriplegic; 23    $1 million (past     $1,421,106.17
 of New York,                       years old at time   pain and             (past)
 2002 WL                            of accident in      suffering - 9
 32068270 (N.Y.                     1992                years); $2.5         $3,552,765.43
 Ct. of Claims                                          million (future      (future)
 2002)                                                  pain and
                                                        suffering 30         Cumulative rate
                                                        years)               of Inflation:
                                                                             42.1%

                                                                             Total award:
                                                                             $4,973,871.60
 Auer v. State of   2001            quadriplegic;       found award of
 New York, 289                      accident            $750,000 for
 A.D.2d 626 (3d                     occurred in 1990    future pain and
 Dep't 2001)                        when she was 18     suffering
                                                        inadequate and
                                                        raised to $1.5       $2,166,584.75
                                                        million (38
                                                        years)               Cumulative rate
                                                                             of Inflation:
                                                                             44.4%




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 Case Name           Year of Award        Injuries            Award                2019 Dollars
                                                                                   (December
                                                                                   2019)
 Brown v. City of    2000                 dove off pier,      $1 million (past     $1,484,651.57
 New York, 275                            struck head,        pain and             (past)
 A.D.2d 726 (2d                           rendered him        suffering); $3       $4,453,954.70
 Dep't 2000)                              quadriplegic;       million (future      (future)
                                          brother rendered    pain and
                                          pentaplegic         suffering) -         Cumulative rate
                                                              remittitur for       of Inflation:
                                                              both                 48.5%

                                                                                   Total award:
                                                                                   $5,938,606.27
 Driscoll v. New     1999                 quadriplegic, 19    $900,000 (past       $1,381,100.24
 York City Transit                        years old           pain and             (past)
 Auth., 262                                                   suffering); $1.1     $1,688,011.40
 A.D.2d 271 (2d                                               million (future      (future)
 Dep't 1999)                                                  pain and
                                                              suffering) -         Cumulative rate
                                                              remittitur           of Inflation:
                                                                                   53.5%

                                                                                   Total award:
                                                                                   $3,069,111.64

       In 2014, when the Court issued its first Memorandum-Decision and Order related to

damages in this case, the Court awarded Plaintiff $500,000 for past pain and suffering (10 years)

and $1,500,000.00 for future pain and suffering (26 year life expectancy). Now, approximately 5.5

years later, the past pain and suffering award should account for 15.5 years and the future pain and

suffering should be based on 20.5 year life expectancy. Furthermore, the Court's 2014 decision was

based in part on the limit of the ad damnum clause which was $6,000,000. After the Second

Circuit's mandate in Malmberg IV, the ad damnum is now $25,000,000.

       After reviewing the relevant case law, the Court finds that it would be reasonable to award


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Plaintiff damages for past pain and suffering in the amount of $7,500,000 and damages for future

pain and suffering in the amount of $10,500,000. The Court comes to this conclusion based, in

large measure, on the thorough analysis of the court in Saladino v. Stewart & Stevenson Servs., Inc.,

No. 01-CV-7644 (SLT) (JMA), 2011 WL 284476 (E.D.N.Y. 2011), aff'd sub nom Saladino v. Am.

Airlines, Inc., 500 F. App'x 69 (2d Cir. 2012), which this Court finds persuasive. In that case, the

trial court noted that "[b]oth federal and state courts have long acknowledged that, in contrast to

economic damages, awards for pain and suffering 'do not lend themselves as easily to computation,'

In re Joint Eastern and Southern Dist. Asbestos Litig., 9 F. Supp. 2d 307, 311 (S.D.N.Y. 1998), and

a precise measure is simply 'impossible,' Braun v. Ahmed, 127 A.D.2d 418, 424, 515 N.Y.S.2d 473

(2nd Dep't 1987)." Saladino, 2011 WL 284476, at *3. "In truth, '[a]ssigning dollar amounts to pain

and suffering is an inherently subjective determination.'" Id. (quoting Marcoux, 290 F. Supp. 2d at

478).

        In reaching its decision on non-economic damages in that case, the Saladino court noted

that, "[i]n several recent cases, New York courts ha[d] sustained pain and suffering awards to

paralysis victims of at least $10 million and up to $17.5 million." Id. at *6. The court further

explained that it was "'not trying to ascertain an average award based on comparable cases," but

instead [was] trying 'to assess what amount is the highest amount of compensation allowable based

on the evidence, that would not deviate materially from reasonable compensation.'" Id. (quoting

Okraynets, 555 F. Supp. 2d at 429 (quotation marks omitted)).

        In particular, the court compared the plaintiff's award to that of the plaintiff in Tenuto v.

Lederle Labs., No. 1134/81, 2010 WL 625223 (N.Y. Sup. Feb. 17, 2010) (Table), in which the trial

court had sustained an aggregate pain and suffering award of $17.5 million to a plaintiff who


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contracted contact polio from his infant daughter after she had received a vaccination. The court

explained that, as with the plaintiff, "Mr. Tenuto's injuries 'cost him his job, his marriage, and the

loss of enjoyment of life. He lives in a small handicapped accessible apartment [and] uses a

wheelchair to get around.'" Id. (quoting [Tenuto, 2010 WL 625223] at *16). The court also noted

that, in Tenuto, "[t]he court [had] sustained the award in part because Mr. Tenuto had waited 30

years for his day in court [while] Mr. Saladino was injured nearly 11 years ago and ha[d] a life

expectancy of 24 years." Id. Furthermore, the court explained that, although Mr. Tenuto was a

permanent paraplegic, "Mr. Saladino's injuries had left him a quadriplegic incapable of caring for

himself in any way." Id. Therefore, the court concluded that the aggregate award of $15 million for

pain and suffering, which was less than the award to Mr. Tenuto, was not excessive. See id.

       The Saladino court also compared the plaintiff's injuries to those of the plaintiffs in the

following cases: Miraglia v. H & L Holding Corp., 5 Misc. 3d 1021(A), 799 N.Y.S.2d 162 (Sup.

Ct., Bronx Cty., 2004), involving a 45-year-old construction worker who became a paraplegic after

suffering injuries when he fell into a trench and became impaled on a rebar, in which the appellate

division had reduced his award to $5 million for past and $5 million for future (35 years) pain and

suffering; Bissell v. Town of Amherst, 56 A.D.3d 1144, 867 N.Y.S.2d 582 (4th Dep't 2008), in

which "the court approved an award of $3 million for approximately five years of past pain and

suffering and $7 million for 32.7 years of future pain and suffering for a plaintiff who experienced

incontinence, sexual dysfunction, chronic excruciating pain, and had no motor function below his

knees"; Ruby v. Budget Rent-A-Car Corp, 23 A.D.3d 257, 806 N.Y.S.2d 12 (1st Dep't 2005), in

which the plaintiff "was rendered a paraplegic at the age of 25, suffering complications like chronic

pain, incontinence, psychological effects, and loss of sexual function" and, in which, "[t]he appellate


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 court reduced the jury award to $2 million for past pain and suffering and $8 million for future pain

 and suffering based on a life expectancy of 44.6 years"; and Okraynets v. Met. Transp. Auth., 555 F.

 Supp. 2d 420 (S.D.N.Y. 2008), in which the plaintiff "was injured when he fell from a wall and

 equipment landed on him," rendering him "a paraplegic and suffered from infection, incontinence,

 chronic pain, loss of sexual function, and other associated conditions, some requiring surgery";

 "use[d] a wheelchair and perform[ed] self-catheterization and bowel disimpactation multiple times a

 day"; "court reduced jury award to an aggregate of $10.5 million, based in part on a life expectancy

 of 39 years." Saladino, 2011 WL 284476, at *7.

        After reviewing these cases, the Saladino court explained that, "[i]n sum, a review of these

 New York cases leads this Court to conclude that $15 million for pain and suffering does not

 deviate materially from reasonable compensation." Id. at *8.

  Case Name           Year of Award        Injuries              Award               2019 Dollars
  Tenuto v. Lederle   2010                 permanent             $12 million (past   $14,069,248.27
  Labs., No.                               paraplegic;           pain and            (past)
  1134/81, 2010                            physical              suffering); $5      $5,862,186.78
  WL 625223                                condition will        million (future     (future)
  (Sup. Ct.,                               degenerate            pain and
  Richmond Cty.,                           greatly; award 30     suffering)          Cumulative rate
  Feb. 17, 2010)                           years after injury;                       of Inflation:
  (Table)                                  life expectancy                           17.2%
                                           20 years
                                                                                     Total award:
                                                                                     $19,931,435.05




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  Case Name          Year of Award   Injuries              Award              2019 Dollars
  Bissell v. Town    2008            paralysis,            $3 million (past   $3,562,286.64
  of Amherst, 56                     incontinence of       pain and           (past)
  A.D.3d 1144                        bladder and           suffering); $7     $8,312,002.16
  (4th Dep't 2008)                   bowel, able to        million (future    (future)
                                     perform some          pain and
                                     hygienic care for     suffering)         Cumulative rate
                                     self; award 5.25                         of Inflation:
                                     years after injury;                      18.7%
                                     life expectancy
                                     32.7 years                               Total award:
                                                                              $11,874,288.80
  Okraynets v.       2008            paraplegia,           $2.5 million       $2,968,572.20
  Met. Transp.                       condition, if         (past pain and     (past)
  Auth, 555 F.                       progressed, could     suffering); $8     $9,499,431.03
  Supp. 2d 420                       lead to               million (future    (future)
  (S.D.N.Y. 2008)                    quadriplegia;         pain and
                                     award 2 years         suffering)         Cumulative rate
                                     after injury; 39                         of Inflation:
                                     years life                               18.7%
                                     expectancy
                                                                              Total award:
                                                                              $12,468,003.23
  Miraglia v. H &    2007            paraplegia; life      $5 million (past   $6,165,104.03
  L Holding Corp.,                   expectancy 35         pain and           (past)
  5 Misc. 3d                         years                 suffering); $5     $6,165,104.03
  1021(A) , 799                                            million (future    (future)
  N.Y.S.2d 162                                             pain and
  (Sup. Ct., Bronx                                         suffering)         Cumulative rate
  Cty., 2004)                                                                 of Inflation:
                                                                              23.3%

                                                                              Total award:
                                                                              $12,330,208.06




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  Case Name            Year of Award        Injuries             Award                 2019 Dollars
  Ruby v. Budge        2005                 paraplegia,          $2 million (past      $2,618,095.24
  Rent-A-Car                                associated           pain and              (past)
  Corp., 23 A.D.3d                          complications,       suffering); $8        $10,472,380.95
  257 (1st Dep't                            constant and         million (future       (future)
  2005)                                     severe pain; life    pain and
                                            expectancy 44.6      suffering)            Cumulative rate
                                            years                                      of Inflation:
                                                                                       30.9%

                                                                                       Total award:
                                                                                       $13,090,476.19

        Based on its review of all of these cases, particularly the injuries of the plaintiffs, the Court

 finds that, given the severity of Plaintiff's injuries, an award of $7,500,00.00 for past pain and

 suffering and $10,500,000.00 for future pain and suffering is an award that "does not deviate

 materially from reasonable compensation." Saladino, 2011 WL 284476, at *8.



                                          III. CONCLUSION

        Having reviewed the entire file and in accordance with the Second Circuit's August 15, 2019

 mandate, see Dkt. No. 182, the Court hereby

        ORDERS that the total award of damages due to Plaintiff is $22,373,011.10, calculated as

 follows:

        Baseline starting point (Dr. Reagles' Scenario #2)              $4,156,537.00
        Future medical care (that the court subtracted out
        in its original decision)                                       $1,176,191.33
        "Generic medical services" (that the Court subtracted
        out in its original decision)                                   $    13,772.76
        Minus: § 1151 benefits at $7,131/month that
        Plaintiff has received
        to August 2016) ($667,857)
        August 2016 to February 2019 (43 mos.)

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        ($306,633)                                                  $ (974,490.00)
        Past pain and suffering                                     $ 7,500,000.00
        Future pain and suffering                                   $10,500,000.00

        Total                                                       $22,373,011.10

        and the Court further

        ORDERS that Plaintiff is entitled to post-judgment interest on the entire award at the

 appropriate federal rate pursuant to 28 U.S.C. § 1961; and the Court further

        ORDERS that the Clerk of the Court shall amend the judgment in this case to reflect the

 total amount of damages due to Plaintiff consistent with this Memorandum-Decision and Order.


 IT IS SO ORDERED.


 Dated: February 4, 2020
        Syracuse, New York




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